                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                 ROANOKE DIVISION

 JAMES H. CROCKETT,                             )
                                                )
       Plaintiff,                               )
                                                )
  v.                                            )     Civil Action No. 7:17-cv-00186
                                                )
 DEPARTMENT OF VETERAN AFFAIRS,                 )     By: Elizabeth K. Dillon
                                                )         United States District Judge
       Defendant.                               )
                                                )


                                            ORDER

        For the reasons set forth in the accompanying memorandum opinion entered this day, it is

 hereby ORDERED that:

        1. The January 19, 2018 report and recommendation (Dkt. No. 34) is ADOPTED;

        2. The plaintiff’s motion for summary judgment (Dkt. No. 24) is DENIED;

        3. The defendant’s motion for summary judgment (Dkt. No. 21) is GRANTED; and

        4. This matter is STRUCK from the active docket of the court.

        The clerk is directed to send a copy of the memorandum opinion and this order to all

 counsel of record.

        Entered: September 21, 2018.

                                             /s/ Elizabeth K. Dillon
                                             Elizabeth K. Dillon
                                             United States District Judge




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